Case 24-03056 Document 7 Filed in TXSB on 06/04/24 Page 1 of 8

IN THE UNITED STATES DISTRICT BANKRUPTCY COURT soi States Coun
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FOR THE SOUTHERN DISTRICT OF TEXAS FIL ey Pres
JUN 4 9p,
Nat
Joanna Burke, ) BANKRUPTCY CASE No.” Ochsner, Clerk of Cour
) 24-30855
Plaintiff
) ADVERSARIAL CASE No.
v. 2.4-03056
Deutsche Bank National Trust }
Company, PHH Mortgage PLAINTIFF'S
Corporation, AVT Title Services, | | DECLARATIONIN
LLC, DOES 1-10 ) SUPPORT OF
REQUEST FOR
Defendants ) DEFAULT JUDGMENT
. AGAINST
DEFENDANTS

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE
JEFFREY P. NORMAN AND ALL INTERESTED PARTIES:

I, Joanna Burke, declare under the penalty of perjury that I am the
Plaintiff in these proceedings, and would make the following statements of

fact in support of the request for default judgment against Defendants:

On March 27, 2024, Plaintiff prepared and posted her Complaint

against Defendants.

On April 4, 2024, the electronic court docket shows entry of Plaintiff
Case 24-03056 Document 7 Filed in TXSB on 06/04/24 Page 2 of 8

Joanna Burke's [Adversary] Complaint for Damages for Violations of the
Automatic Stay by named Defendants.

On April 10, 2024, the electronic court docket shows summons were
posted to Plaintiff.

A copy of the Complaint and Original Summons was timely served on
Defendants by U.S. first class mail, postage prepaid, addressed to (i) AVT
Title Services, LLC, 14160 N. Dallas Parkway, Suite 900, Dallas, Texas,
75254, (ii) Deutsche Bank National Trust Company, c/o Codilis & Moody,
P.C., 20405 State Highway 249, Suite 170, Houston, Texas, 77070, and (iii)
PHH Mortgage Corporation, c/o Hopkins Law, PLLC, 2802 Flintrock Trace,
Suite B103, Austin, Texas, 78738.

See; KSMI Props. LLC v. South (In re South}, 645 B.R. 205, 206 (Bankr.
H.D. Tex. 2022); Vida v. T.W. Doers Inv. Firm (In re Benitez), No. 21-40734-

ELM, at *3 (Bankr. N.D. Tex. Oct. 2, 2023).

AVT Title Services, LLC Photograph at USPS

Case 24-03056 Document 7 Filed in TXSB on 06/04/24 Page 3 of 8

PHH Mortgage Corporation Photograph at USPS

Case 24-03056 Document 7 Filed in TXSB on 06/04/24 Page 4 of 8

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At the time of this filing and declaration on May 27, 2024, no
response has been received: either in the post or visible on the electronic
court docket by any Defendant.

No Defendant has reached out to the Plaintiff regarding the
complaint; nor made an appearance; or filed any response or pleadings in
relation to these proceedings; or otherwise defended this action in
compliance with Federal Bankruptcy Code and Rules. As such, the time in
which to do so has expired.

Pursuant Fed. R. Bankr, P. 7012 and Fed. R. Civ. P. 55{a), Plaintiff has

filed with this declaration a request for entry of default against the

Case 24-03056 Document 7 Filed in TXSB on 06/04/24 Page 5 of 8

defaulted Defendants.

VERIFICATION AND DECLARATION

In closing, 1, Joanna Burke, as Plaintiff with due authority and
competency, resident of Kingwood in the livable forest of Harris County,
Texas, born on November 25, 1938 (85 years old), in Kirkintilloch, Scotland,
United Kingdom, and currently holding U.S. Citizenship, a valid State of
Texas Driver License (last 3 digits are 738), and a Social Security Card (last 3
digits are 874), do solemnly declare under penalty of perjury that the
foregoing statements are true and correct. This verified declaration, made
under Chapter 132, Civil Practice and Remedies Code, holds significant
weight in legal precedent, as evident in ACI Design Build Contractors Inc. v.
Loadholt, 605 S.W.3d 515, 518 (Tex. App. 2020), McMahan v. Izen, No. 01-
20-00233-CV, at *15-17 (Tex. App. Sep. 2, 2021), and In re Whitfield, No. 03-
21-00170-CR, at *1 n.1 (Tex. App. Nov. 10, 2021).

RESPECTFULLY submitted this 27" day of May, 2024.

Case 24-03056 Document 7 Filed in TXSB on 06/04/24 Page 6 of 8

A jammer Avr{ <2,

Joanna Burke, Harris County
State of Texas / Pro Se

46 Kingwood Greens Dr
Kingwood, Texas 77339

Phone Number: (832) 466-9015
Fax: (866) 705-0576

Email: joanna@2dobermans.com

CERTIFICATE OF SERVICE

[hereby certify that a true and correct copy of the foregoing document was
served on May 27, 2023 as stated below on the following:

VIA U.S. Mail:

Nathan Ochsner
Clerk of Court

P. O. Box 61010
Houston, TX 77208

Case Manager to Judge Jeffrey P. Norman
Bob Casey United States Courthouse

515 Rusk, Room 403

Houston, Texas 77002

VIA EMAIL

Case 24-03056 Document 7 Filed in TXSB on 06/04/24 Page 7 of 8

AVT Title Services, LLC,

14160 N. Dallas Parkway,

Suite 900, Dallas, Texas, 75254

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' K. Mackie; kmackie@mwzmlaw.com

B. Wolf; bwolf@mwzmlaw.com

General Inquiries: litigationfilings@mwzmlaw.com

Deutsche Bank National Trust Company
c/o Codilis & Moody, P.C.

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Austin, Texas, 78738

Shelley Hopkins; shelley@hopkinslawtexas.com
Mark Hopkins; mark@hopkinslawtexas.com
Piper Armstrong; piper@hopkinslawtexas.com

Case 24-03056 Document 7 Filed in TXSB on 06/04/24 Page 8 of 8

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